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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                MIDLAND DIVISION

BRIAN WALKER, JASON WALKER,
AND ALL OTHERS SIMILARLY
SITUATED UNDER 29 USC § 216(b),

        Plaintiffs,

v.                                                   Civil Action No. 7:16-cv-00311-RAJ-DC

BYRD OILFIELD SERVICES, LLC,
MIKE BYRD MANAGEMENT, LLC,
BPU AVIATION, LLC, KAY HIGHT,
MIKE BYRD, CARY EPLEY, MIKE
BYRD CASING CREWS, INC., AND
MIKE BYRD CASING CREWS, LTD.,

        Defendants.


MOTION TO WITHDRAW JESSE H. FORESTER AS ATTORNEY FOR PLAINTIFFS

       J. Derek Braziel, counsel for Plaintiffs, hereby moves the Court to withdraw the

appearance of Jesse H. Forester as attorney of record for Plaintiffs. Attorney Forester’s

employment with the firm of Lee & Braziel, LLP, ended on August 24, 2017. J. Derek Braziel

and the law firm of Lee & Braziel, LLP, along with co-counsel, Jack Siegel of Siegel Law

Group, PLLC, remain as counsel of record for Plaintiffs.




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                                                    Respectfully submitted,


                                                     /s/ J. Derek Braziel
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                                                    ATTORNEYS FOR PLAINTIFFS




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served on all

counsel of record via the Court’s ECF system as of the date file-stamped thereon.


                                                    /s/ J. Derek Braziel
                                                    J. DEREK BRAZIEL




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